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                                UNITED STATES DISTRICT COURT
                                SOUTHERN DISTRICT OF FLORIDA
                                        FORT PIERCE DIVISION
   TINA VANDERBURG,                              )
                                                 )
                           Plaintiff,            ) 2:17-cv-14001-DMM
                                                 )
          vs.                                    )
                                                 )
   COMENITY LLC, d/b/a COMENITY                  )
   BANK,                                         )
                    Defendant                    )
                                                 )

                 DEFENDANT COMENITY BANK’S ANSWER TO COMPLAINT
                            AND AFFIRMATIVE DEFENSES

                 COMES NOW Defendant COMENITY BANK, erroneously sued as COMENITY

   LLC d/b/a COMENITY BANK (hereinafter “Defendant”), by and through its counsel of record,

   and hereby answers the Complaint (“hereinafter Complaint”) of Plaintiff TINA VANDERBURG

   (“Plaintiff”) by admitting, denying and alleging as follows:


          1.      Answering Paragraph 1 of the Complaint, Defendant admits Plaintiff brings this

   action for alleged violations of the Telephone Consumer Protection Act, 47 U.S.C. § 227 et seq.

   (“TCPA”) and the Florida Consumer Protection Act, Fla. Stat. § 559.55 et seq. (“FCCPA”).

   However, Defendant denies it violated the TCPA or FCCPA, and denies any wrongdoing

   whatsoever.


                                          INTRODUCTION


          2.      It is unclear if the allegations in Paragraph 2 contain affirmative allegations

   directed towards Defendant. To the extent said allegations are directed towards Defendant,




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   Defendant denies them on the grounds that Defendant is without knowledge to form a belief as to

   the truth of the purported allegations and/or statements

          3.      It is unclear if the allegations in Paragraph 3 contain affirmative allegations

   directed towards Defendant. To the extent said allegations are directed towards Defendant,

   Defendant denies them on the grounds that Defendant is without knowledge to form a belief as to

   the truth of the purported allegations and/or statements

          4.      It is unclear if the allegations in Paragraph 4 contain affirmative allegations

   directed towards Defendant. To the extent said allegations are directed towards Defendant,

   Defendant denies them on the grounds that Defendant is without knowledge to form a belief as to

   the truth of the purported allegations and/or statements

          5.      It is unclear if the allegations in Paragraph 5 contain affirmative allegations

   directed towards Defendant. To the extent said allegations are directed towards Defendant,

   Defendant denies them on the grounds that Defendant is without knowledge to form a belief as to

   the truth of the purported allegations and/or statements

          6.      It is unclear if the allegations in Paragraph 6 contain affirmative allegations

   directed towards Defendant. To the extent said allegations are directed towards Defendant,

   Defendant denies them on the grounds that Defendant is without knowledge to form a belief as to

   the truth of the purported allegations and/or statements

          7.      It is unclear if the allegations in Paragraph 7 contain affirmative allegations

   directed towards Defendant. To the extent said allegations are directed towards Defendant,

   Defendant denies them on the grounds that Defendant is without knowledge to form a belief as to

   the truth of the purported allegations and/or statements




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           8.     It is unclear if the allegations in Paragraph 8 contain affirmative allegations

   directed towards Defendant. To the extent said allegations are directed towards Defendant,

   Defendant denies them on the grounds that Defendant is without knowledge to form a belief as to

   the truth of the purported allegations and/or statements


                                     JURSIDICTION AND VENUE


           9.     Answering Paragraph 9 of the Complaint, Defendant asserts said paragraph states

   a legal conclusion.

           10.    Answering Paragraph 10 of the Complaint, Defendant asserts said paragraph

   states a legal conclusion.

           11.    Answering Paragraph 11 of the Complaint, Defendant asserts said paragraph

   states a legal conclusion.

                                          FACTUAL ALLEGATIONS
                  1
           12.        Answering Paragraph 12 of the Complaint, Defendant lacks sufficient

   information to either admit or deny the allegations contained therein, and on that basis, denies

   same.

           13.    Answering Paragraph 13 of the Complaint, Defendant lacks sufficient information

   to either admit or deny the allegations contained therein, and on that basis, denies same.

           14.    Answering Paragraph 14 of the Complaint, Defendant lacks sufficient information

   to either admit or deny the allegations contained therein, and on that basis, denies same.

           15.    Answering Paragraph 15 of the Complaint, Defendant admits only that it is a

   Delaware chartered bank, and that it issues credit card account to certain residents of Florida.


   1
    Plaintiff erroneously inserted Paragraph 11 twice. The Answer reflects responses with the
   correct numbering.
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   Except as specifically admitted herein, Defendant denies the remaining allegations in Paragraph

   15 of Complaint’s complaint as they are vague, ambiguous, lack foundation and call for a legal

   conclusion.

          16.     Answering Paragraph 16 of the Complaint, Defendant asserts this paragraph states

   a legal conclusion.

          17.     Answering Paragraph 17 of the Complaint, Defendant asserts this paragraph states

   a legal conclusion.

          18.     Answering Paragraph 18 of the Complaint, Defendant denies each and every

   allegation.

          19.     Answering Paragraph 19 of the Complaint, Defendant denies each and every

   allegation.

          20.     Answering Paragraph 20 of the Complaint, Defendant denies each and every

   allegation.21. Answering Paragraph 21 of the Complaint, Defendant denies each and every

   allegation.

          22.     Answering Paragraph 22 of the Complaint, Defendant lacks sufficient information

   to either admit or deny the allegations contained therein, and on that basis, denies same.

          23.     Answering Paragraph 23 of the Complaint, Defendant asserts this paragraph states

   a legal conclusion.

          24.     Answering Paragraph 24 of the Complaint, Defendant lacks sufficient information

   to either admit or deny the allegations contained therein, and on that basis, denies same.

          25.     Answering Paragraph 25 of the Complaint, Defendant denies each and every

   allegation.




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          26.     Answering Paragraph 26 of the Complaint, Defendant lacks sufficient information

   to either admit or deny the allegations contained therein, and on that basis, denies same.

          27.     Answering Paragraph 27 of the Complaint, Defendant denies each and every

   allegation.

          28.     Answering Paragraph 28 of the Complaint, Defendant denies each and every

   allegation.

          29.     Answering Paragraph 29 of the Complaint, Defendant denies each and every

   allegation.

          30.     Answering Paragraph 30 of the Complaint, Defendant denies each and every

   allegation.

          31.     Answering Paragraph 31 of the Complaint, Defendant denies each and every

   allegation.

          32.     Answering Paragraph 32, Defendant lacks sufficient information to either admit

   or deny the remainder of the allegations contained therein, and on that basis, denies same.

          33.     Answering Paragraph 33, Defendant lacks sufficient information to either admit

   or deny the remainder of the allegations contained therein, and on that basis, denies same.

          34.     Answering Paragraph 34 of the Complaint, Defendant denies each and every

   allegation.

          35.     Answering Paragraph 35 of the Complaint, Defendant denies each and every

   allegation.

          36.     Answering Paragraph 36 of the Complaint, Defendant denies each and every

   allegation.




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          37.    Answering Paragraph 37 of the Complaint, Defendant denies each and every

   allegation.

          38.    Answering Paragraph 38 of the Complaint, Defendant denies each and every

   allegation.

          39.    Answering Paragraph 39 of the Complaint, Defendant denies each and every

   allegation.

          40.    Answering Paragraph 40 of the Complaint, Defendant denies each and every

   allegation.

          41.    Answering Paragraph 41 of the Complaint, Defendant denies each and every

   allegation.

          42.    Answering Paragraph 42 of the Complaint, Defendant denies each and every

   allegation.

          43.    Answering Paragraph 43 of the Complaint, Defendant denies each and every

   allegation.

          44.    Answering Paragraph 44 of the Complaint, Defendant denies each and every

   allegation.

          45.    Answering Paragraph 45 of the Complaint, Defendant denies each and every

   allegation.

          46.    Answering Paragraph 46 of the Complaint, Defendant denies each and every

   allegation.

          47.    Answering Paragraph 47 of the Complaint, Defendant denies each and every

   allegation.




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          48.     Answering Paragraph 48 of the Complaint, Defendant lacks sufficient information

   to either admit or deny the allegations contained therein, and on that basis, denies same. To the

   extent this allegation refers to a writing, Defendant asserts that the writing speaks for itself.

          49.     Answering Paragraph 48 of the Complaint, Defendant lacks sufficient information

   to either admit or deny the allegations contained therein, and on that basis, denies same. To the

   extent this allegation refers to a writing, Defendant asserts that the writing speaks for itself.

          50.     Answering Paragraph 50 of the Complaint, Defendant denies each and every

   allegation.

          51.     Answering Paragraph 51 of the Complaint, Defendant denies each and every

   allegation.

          52.     Answering Paragraph 52 of the Complaint, Defendant denies each and every

   allegation.

          53.     Answering Paragraph 52 of the Complaint, Defendant denies each and every

   allegation.

                                                 COUNT I

          54.     Answering Paragraph 54 of the Complaint, Defendant incorporates paragraphs 1-

   53 of its Answer.

          55.     Answering Paragraph 55 of the Complaint, Defendant denies each and every

   allegation.

          56.     Answering Paragraph 56 of the Complaint, Defendant denies each and every

   allegation. Answering the unnumbered Paragraph following Paragraph 55 of the Complaint,

   Defendant admits that Plaintiff seeks a jury trial. Defendant denies the remainder of the

   allegations contained therein.



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                                               COUNT II

          57.     Answering Paragraph 57 of the Complaint, Defendant incorporates paragraphs1-

   53 of its Answer.

          58.     Answering Paragraph 58 of the Complaint, Defendant denies each and every

   allegation.

          59.     Answering Paragraph 59 of the Complaint, Defendant denies each and every

   allegation.

          60.     Answering Paragraph 60 of the Complaint, Defendant denies each and every

   allegation.

          61.     Answering Paragraph 61 of the Complaint, Defendant denies each and every

   allegation.

          62.     Answering Paragraph 62 of the Complaint, Defendant denies each and every

   allegation. Answering the unnumbered Paragraph following Paragraph 62 of the Complaint,

   Defendant admits that Plaintiff seeks a jury trial. Defendant denies the remainder of the

   allegations contained therein.

                                     AFFIRMATIVE DEFENSES

                                    FIRST AFFIRMATIVE DEFENSE

                                    (Failure to State Cause of Action)

          63.    Plaintiff’s Complaint, and each cause of action contained therein, fails to state

   facts sufficient to constitute a valid cause of action against Defendant.




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                                 SECOND AFFIRMATIVE DEFENSE

                                         (Statute of Limitations)

          64.    Defendant is informed and believes and based thereon alleges that Plaintiff’s

   Complaint, and each cause of action contained therein, or portions thereof, is barred by the

   applicable statutes of limitations.

                                   THIRD AFFIRMATIVE DEFENSE

                                               (No ATDS)

           65. As a separate, affirmative defense, Defendant asserts that Defendant does no\t

   employ an automatic telephone dialing system as defined by the TCPA.

                                 FOURTH AFFIRMATIVE DEFENSE

                                          (Equitable Defenses)

          66.    As a separate, affirmative defense, the Complaint, and each cause of action alleged

   therein against Defendant are barred by doctrines of estoppel, waiver, unclean hands, and other

   equitable doctrines.

                                   FIFTH AFFIRMATIVE DEFENSE

                                  (No Intentional or Reckless Conduct)

           67. As a separate, affirmative defense, Defendant contends that it did not engage in any

   conduct that was outrageous, intentional and malicious or done with reckless disregard with

   respect to Plaintiff. Defendant also alleges that it never engaged in any knowing, willful or

   fraudulent conduct with respect to Plaintiff.




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                                  SIXTH AFFIRMATIVE DEFENSE

                                        (Mitigation of Damages)

           68.      Plaintiff is not entitled to recover any damages, or any recovery awarded should

   be reduced by the amount of damages which reasonably could have been avoided, because

   Plaintiff failed to take reasonable steps to mitigate her damages with respect to the matters

   alleged in the Complaint.

                                SEVENTH AFFIRMATIVE DEFENSE

                                 (Actions Were Privileged and Justified)

             69.    As a separate, affirmative defense, the Complaint, and each cause of action

   alleged therein against Defendant, is barred because Defendant was privileged and justified, by

   statute and by common law, in making the alleged statements and representations, if any.

                                 EIGHTH AFFIRMATIVE DEFENSE

                                            (Bona Fide Error)

              70.     As a separate, affirmative defense, assuming arguendo that this Defendant

   violated a statute alleged in the Complaint, which presupposition the Defendant denies, such

   violation was not intentional and resulted from a bona fide error, notwithstanding the

   maintenance of procedures reasonably adapted to avoid any such error.

                                  NINTH AFFIRMATIVE DEFENSE

                                   (Prior Express or Implied Consent)

             71.      As a separate, affirmative defense, Defendant asserts that it had consent to call

   the phone numbers at issue, either via prior express consent or implied consent.




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                                       TENTH AFFIRMATIVE DEFENSE

                                              (Assumption of Risk)

             72.          As a separate, affirmative defense, Defendant asserts that Plaintiff assumed the

   risk of the calls made by Defendant.

                                    ELEVENTH AFFIRMATIVE DEFENSE

                                        (Reasonableness and Good Faith)

                  73.     Defendant and its agents, if any, acted reasonably and in good faith at all times

   material herein, based on all relevant facts and circumstances known by them at the time they so

   acted, Defendant alleges that they acted lawfully and within their legal rights, with a good faith

   belief in the exercise of those rights, and in the furtherance of legitimate business purpose.

   Further, Defendant acted in good faith in the honest belief that the acts, conduct and

   communications, if any, of Defendant were justified under the circumstances based on

   information reasonably available to this answering Defendant, including reliance on information

   provided by the creditor. Accordingly, Plaintiff is barred from any recovery in this action.

                                       TWELFTH AFFIRMATIVE DEFENSE

                                                      (Offset)

                    74.      Any damages that Plaintiff may recover against Defendant in this Action

   must be offset against all amounts owed to Defendant.

                                     THIRTEENTH AFFIRMATIVE DEFENSE

                                                   (Arbitration)

                    75.      As a separate affirmative defense, Defendant reserves its right to compel

   arbitration.




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                                FOURTEENTH AFFIRMATIVE DEFENSE

                                              (No Damages)

                  76.    As a separate affirmative defense, Defendant asserts that Plaintiff has not

   alleged claims such that she is entitled to actual or punitive damages.

                                  FIFTEENTH AFFIRMATIVE DEFENSE

                                         (No Damages or Injury)

                 77.    As a separate affirmative defense, Defendant asserts that Plaintiff suffered

   no harm.

                               DEFENDANT’S PRAYER FOR RELIEF
                 WHEREFORE, Defendant denies every request in Plaintiff’s prayer, and prays that
   Plaintiff’s Complaint be dismissed with prejudice, for its attorneys’ fees and costs incurred
   herein, and for such further relief as the court deems just and equitable.
                 WHEREFORE, Defendant demands a trial by jury.

   Dated: February 21, 2017                              Respectfully Submitted,


                                                      /s/ Marc Stuart Dobin
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